     Case 8:20-cv-01299-JLS-ADS Document 19 Filed 09/03/20 Page 1 of 9 Page ID #:74


 1   Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
     MANNING LAW, APC
 2   20062 SW Birch Street, Ste. 200
 3   Newport Beach, CA 92660
     Office: (949) 200-8755
 4   DisabilityRights@manninglawoffice.com
 5

 6   Attorney for Plaintiff: JAMES RUTHERFORD
 7

 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   JAMES RUTHERFORD, an                     Case No. 8:20-cv-01299-JLS-ADS
12   individual,                              First Amended Complaint For
                 Plaintiff,                   Damages And Injunctive Relief For:
13   v.
14                                             1. VIOLATIONS OF THE
     ABC CAPITAL HOLDINGS, LLC,                   AMERICANS WITH DISABILITIES
15   an Alaskan limited liability                 ACT OF 1990, 42 U.S.C. §12181 et
16   company; and DOES 2-10, inclusive,           seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
                     Defendants.                  325).
18

19

20

21         Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
22   Defendant ABC CAPITAL HOLDINGS, LLC, an Alaskan limited liability
23   company; and Does 2-10 (“Defendants”) and alleges as follows:
24                                          PARTIES
25         1.     Plaintiff is substantially limited in performing one or more major life
26   activities, including but not limited to: walking, standing, ambulating, sitting; in
27   addition to twisting, turning and grasping objects. As a result of these disabilities,
28   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.

                                                1
                                 FIRST AMENDED COMPLAINT
     Case 8:20-cv-01299-JLS-ADS Document 19 Filed 09/03/20 Page 2 of 9 Page ID #:75


 1   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 2   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 3   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 4   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 5   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 6   suffered from a “qualified disability” under the ADA, including those set forth in
 7   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 8          2.     Plaintiff is informed and believes and thereon alleges that Defendant
 9   ABC CAPITAL HOLDINGS, LLC, an Alaskan limited liability company, owned
10   the property located at 1156 E Yorba Linda Blvd., Placentia, CA 92870 (“Property”)
11   on or around June 16, 2020.
12          3.     Plaintiff is informed and believes and thereon alleges that ABC
13   CAPITAL HOLDINGS, LLC, an Alaskan limited liability company, owns the
14   Property currently.
15          4.     Plaintiff does not know the true name of Defendant, its business
16   capacity, its ownership connection to the Property serving Pho Mazing (“Business”),
17   or its relative responsibilities in causing the access violations herein complained of.
18   Plaintiff is informed and believes that each of the Defendants herein, including Does
19   1 through 10, inclusive, is responsible in some capacity for the events herein alleged,
20   or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
21   amend when the true names, capacities, connections, and responsibilities of the
22   Defendants and Does 1 through 10, inclusive, are ascertained.
23                               JURISDICTION AND VENUE
24          5.     This Court has subject matter jurisdiction over this action pursuant
25   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
26          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
27   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
28   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
                                                   2
                                     FIRST AMENDED COMPLAINT
     Case 8:20-cv-01299-JLS-ADS Document 19 Filed 09/03/20 Page 3 of 9 Page ID #:76


 1   federal ADA claims in that they have the same nucleus of operative facts and
 2   arising out of the same transactions, they form part of the same case or controversy
 3   under Article III of the United States Constitution.
 4          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 5   real property which is the subject of this action is located in this district and because
 6   Plaintiff's causes of action arose in this district.
 7                                FACTUAL ALLEGATIONS
 8          8.     Plaintiff went to the Business on or about June 16, 2020 for the dual
 9   purpose of purchasing pho and to confirm that this public place of accommodation is
10   accessible to persons with disabilities within the meaning federal and state law.
11          9.     The Business is a facility open to the public, a place of public
12   accommodation, and a business establishment.
13          10.    Parking spaces are one of the facilities, privileges, and advantages
14   reserved by Defendants to persons at the Property serving the Business.
15          11.    Unfortunately, although parking spaces were one of the facilities
16   reserved for patrons, there were no designated parking spaces available for persons
17   with disabilities that complied with the 2010 Americans with Disabilities Act
18   Accessibility Guidelines (“ADAAG”) on June 16, 2020.
19          12.    At that time, instead of having architectural barrier free facilities for
20   patrons with disabilities, Defendants have: one curb ramp that projects into the
21   traffic lanes in violation of Section 406.5 (which requires that curb ramps and the
22   flared sides of curb ramps shall be located so that they do not project into vehicular
23   traffic lanes, parking spaces, or parking access aisles); the slope of the curb ramp
24   that flares at the curb ramp connecting the accessible parking spaces to the
25   accessible route exceeds 12% in violation of Section 406.3 (which requires that the
26   slope does not exceed 10%); accessible parking spaces that are not located on the
27   shortest accessible route to the entrance per Section 208.3.1. (Parking spaces
28   complying with 502 that serve a particular building or facility shall be located on the
                                                   3
                                      FIRST AMENDED COMPLAINT
     Case 8:20-cv-01299-JLS-ADS Document 19 Filed 09/03/20 Page 4 of 9 Page ID #:77


 1   shortest accessible route from parking to an entrance complying with 206.4. Where
 2   parking serves more than one accessible entrance, parking spaces complying with
 3   502 shall be dispersed and located on the shortest accessible route to the accessible
 4   entrances); no accessible route connecting the parking access aisles to an accessible
 5   entrance per Sections 206.4 and 208.3.1; no accessible routes connecting the parking
 6   to the main entrance or elements within the facility as required by Section 206.2.2
 7   (which requires that at least one accessible route shall connect accessible buildings,
 8   accessible facilities, accessible elements, and accessible spaces that are on the same
 9   site, and 206.1 requiring access to the site arrival point (main entrance) from the
10   public street); a walkway leading to the entrance that is inaccessible and
11   noncompliant. (The running slope of walking surfaces shall not be steeper than 1:20.
12   The cross slope of walking surfaces shall not be steeper than 1:48, per Section
13   403.3); and, noncompliant or missing handrails (Handrails shall be provided on both
14   sides of stairs and ramps per Section 505.2).
15         13.    Subject to the reservation of rights to assert further violations of law
16   after a site inspection found infra, Plaintiff asserts there are additional ADA
17   violations which affect him personally.
18         14.    Plaintiff is informed and believes and thereon alleges Defendants had
19   no policy or plan in place to make sure that there was compliant accessible parking
20   reserved for persons with disabilities prior to June 16, 2020.
21         15.    Plaintiff is informed and believes and thereon alleges Defendants have
22   no policy or plan in place to make sure that the designated disabled parking for
23   persons with disabilities comport with the ADAAG.
24         16.    Plaintiff personally encountered these barriers. The presence of these
25   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
26   conditions at public place of accommodation and invades legally cognizable
27   interests created under the ADA.
28         17.    The conditions identified supra in paragraph 12 are necessarily related
                                                  4
                                     FIRST AMENDED COMPLAINT
     Case 8:20-cv-01299-JLS-ADS Document 19 Filed 09/03/20 Page 5 of 9 Page ID #:78


 1   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
 2   the major life activities of walking, standing, ambulating, sitting, in addition to
 3   twisting, turning and grasping objects; Plaintiff is the holder of a disabled parking
 4   placard; and because the enumerated conditions relate to the use of the accessible
 5   parking, relate to the slope and condition of the accessible parking and accessible
 6   route to the accessible entrance, and relate to the proximity of the accessible parking
 7   to the accessible entrance.
 8          18.      As an individual with a mobility disability who at times relies upon a
 9   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
10   accommodations have architectural barriers that impede full accessibility to those
11   accommodations by individuals with mobility impairments.
12          19.      Plaintiff is being deterred from patronizing the Business and its
13   accommodations on particular occasions, but intends to return to the Business for the
14   dual purpose of availing himself of the goods and services offered to the public and
15   to ensure that the Business ceases evading its responsibilities under federal and state
16   law.
17          20.      Upon being informed that the public place of accommodation has
18   become fully and equally accessible, he will return within 45 days as a “tester” for
19   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
20   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
21          21.      As a result of his difficulty experienced because of the inaccessible
22   condition of the facilities of the Business, Plaintiff was denied full and equal access
23   to the Business and Property.
24          22.      The Defendants have failed to maintain in working and useable
25   conditions those features required to provide ready access to persons with
26   disabilities.
27          23.      The U.S. Department of Justice has emphasized the importance of
28   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
                                                  5
                                      FIRST AMENDED COMPLAINT
     Case 8:20-cv-01299-JLS-ADS Document 19 Filed 09/03/20 Page 6 of 9 Page ID #:79


 1   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
 2   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
 3   Coronavirus Disease 2019 (COVID-19) found at
 4   https://www.ada.gov/aag_covid_statement.pdf.
 5         24.    The violations identified above are easily removed without much
 6   difficulty or expense. They are the types of barriers identified by the Department of
 7   Justice as presumably readily achievable to remove and, in fact, these barriers are
 8   readily achievable to remove. Moreover, there are numerous alternative
 9   accommodations that could be made to provide a greater level of access if complete
10   removal were not achievable.
11         25.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
12   alleges, on information and belief, that there are other violations and barriers in the
13   site that relate to his disability. Plaintiff will amend the First Amended Complaint,
14   to provide proper notice regarding the scope of this lawsuit, once he conducts a site
15   inspection. However, the Defendants are on notice that the Plaintiff seeks to have all
16   barriers related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th
17   Cir. 2008) (holding that once a plaintiff encounters one barrier at a site, the plaintiff
18   can sue to have all barriers that relate to his disability removed regardless of whether
19   he personally encountered them).
20         26.    Without injunctive relief, Plaintiff will continue to be unable to fully
21   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
22                               FIRST CAUSE OF ACTION
23    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
24      42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
25                                        (P.L. 110-325)
26         27.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
27   above and each and every other paragraph in this First Amended Complaint
28   necessary or helpful to state this cause of action as though fully set forth herein.
                                                 6
                                    FIRST AMENDED COMPLAINT
     Case 8:20-cv-01299-JLS-ADS Document 19 Filed 09/03/20 Page 7 of 9 Page ID #:80


 1         28.    Under the ADA, it is an act of discrimination to fail to ensure that the
 2   privileges, advantages, accommodations, facilities, goods, and services of any place
 3   of public accommodation are offered on a full and equal basis by anyone who owns,
 4   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
 5   Discrimination is defined, inter alia, as follows:
 6                a.     A failure to make reasonable modifications in policies, practices,
 7                       or procedures, when such modifications are necessary to afford
 8                       goods, services, facilities, privileges, advantages, or
 9                       accommodations to individuals with disabilities, unless the
10                       accommodation would work a fundamental alteration of those
11                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
12                b.     A failure to remove architectural barriers where such removal is
13                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
14                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
15                       Appendix "D".
16                c.     A failure to make alterations in such a manner that, to the
17                       maximum extent feasible, the altered portions of the facility are
18                       readily accessible to and usable by individuals with disabilities,
19                       including individuals who use wheelchairs, or to ensure that, to
20                       the maximum extent feasible, the path of travel to the altered area
21                       and the bathrooms, telephones, and drinking fountains serving
22                       the area, are readily accessible to and usable by individuals with
23                       disabilities. 42 U.S.C. § 12183(a)(2).
24         29.    Any business that provides parking spaces must provide accessible
25   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
26   shall be at the same level as the parking spaces they serve. Changes in level are not
27   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
28   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
                                                 7
                                    FIRST AMENDED COMPLAINT
     Case 8:20-cv-01299-JLS-ADS Document 19 Filed 09/03/20 Page 8 of 9 Page ID #:81


 1   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
 2   designated disabled parking space is a violation of the law and excess slope angle in
 3   the access pathway is a violation of the law.
 4          30.      A public accommodation must maintain in operable working condition
 5   those features of its facilities and equipment that are required to be readily accessible
 6   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 7          31.      Here, the failure to ensure that accessible facilities were available and
 8   ready to be used by Plaintiff is a violation of law.
 9          32.      Given its location and options, Plaintiff will continue to desire to
10   patronize the Business but he has been and will continue to be discriminated against
11   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
12   the barriers.
13                                            PRAYER
14    WHEREFORE, Plaintiff prays that this court award damages provide relief as
15   follows:
16          1.       A preliminary and permanent injunction enjoining Defendants from
17   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
18   Amendments Act of 2008 (P.L. 110-325). with respect to its operation of the
19   Business and Property; Note: Plaintiff is not invoking section 55, et seq, of the
20   California Civil Code and is not seeking injunctive relief under the Disabled Persons
21   Act (Cal. C.C. §54) at all.
22          2.       For reasonable attorneys' fees, litigation expenses, and costs of suit,
23   pursuant to 42 U.S.C. § 12205.
24                                 DEMAND FOR JURY TRIAL
25          Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
26   raised in this First Amended Complaint.
27

28   Dated: September 2, 2020                  MANNING LAW, APC
                                                   8
                                      FIRST AMENDED COMPLAINT
     Case 8:20-cv-01299-JLS-ADS Document 19 Filed 09/03/20 Page 9 of 9 Page ID #:82


 1

 2                                 By: /s/ Joseph R. Manning Jr., Esq.
                                      Joseph R. Manning Jr., Esq.
 3                                    Attorney for Plaintiff
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            9
                                 FIRST AMENDED COMPLAINT
